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REPORT ON UNTIMELINESS OF MARICOPA
COUNTY SHERIFF’S OFFICE INTERNAL
INVESTIGATIONS: CHALLENGES AND
POTENTIAL SOLUTIONS
Melendres, et al. and United States of America, Plaintiff-
Intervenor v. Paul Penzone, Sheriff of Maricopa County,
Arizona; et al. No. CV-07-2513-PHX-GMS
July 2022


       Submitted by:
       Michael Gennaco, OIR Group, Court Management Expert




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Introduction
This Report addresses one significant, and currently pending, issue in the longstanding
effort to resolve obligations of the Maricopa County Sheriff’s Office (“MSCO”) under
federal court proceedings. Melendres, et al. and United States of America, Plaintiff-
Intervenor v. Paul Penzone, Sheriff of Maricopa County, Arizona; et al. No. CV-07-2513-
PHX-GMS. The problem itself is easy enough to identify: a massive backlog in MSCO’s
administrative investigations into allegations of employee misconduct. More complex is
what the best approaches are to rectify the current situation. On September 7, 2021,
this writer was appointed by United States Chief District Judge Murray Snow as a
management expert to provide the Court with recommendations on how best MCSO
can achieve compliance with the Court’s Order pertaining to the time limits for
completing internal investigations and remain in compliance with such limits as required
by the Court’s previously issued Order and thereafter by best practices and state law.
This Report is intended to be responsive to that assignment.

As is often true of large-scale challenges that have lasted for many years and gone
through various phases, the people close to the MCSO timeliness controversy who offer
differing – and sometimes conflicting – assessments as to root causes and needed
solutions. Years of well-recognized excesses on the part of MCSO, in conjunction with
a history of recalcitrance and defiance in the face of federal intervention, have left the
plaintiffs in the underlying litigation with deep skepticism about the agency’s willingness
and ability to reform without stringent outside control. Conversely, the MCSO’s new
leadership understandably is attempting to distinguish itself from the dysfunctional
paradigms that created the need for the Court’s involvement. It believes that it should
be given more latitude to prove itself and asserts that ongoing compliance obligations
are actually – and ironically – hindering its ability to address misconduct allegations in
the most effective ways.

The assessment that follows takes the competing concerns into consideration, weighs
in on their respective validity where appropriate, and seeks ways to reconcile them.
Perhaps most usefully, the Report draws on input from the parties and the Court-
appointed Monitor to craft recommendations that address the timeliness issue
concretely.

An encouraging starting point is the complete consensus that exists regarding one idea:
the unacceptability of the status quo and the concerted attention necessary to rectify it.
This Report takes the position that one key recommendation – the creation of a new
Constitutional Policing Advisor role – can potentially increase external confidence in
legitimacy and thereby serve as a springboard for other streamlining adjustments to the
current system.

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That concept, and the related benefits that could arise from it, are discussed more fully
below. But the success of any specific measures will depend in part on the continued
rigor of outside scrutiny and the good faith of MCSO in implementation. The hope is
that the findings and recommendations offered here will be of assistance in
accomplishing these goals.

Procedural History
On July 26, 2016, the Court issued an injunction (the “Second Order”) which required
reforms to MCSO’s internal investigation procedures. The Second Order requires the
Sheriff to ensure that “all allegations of employee misconduct, whether internally
discovered or based on a civilian complaint, are fully, fairly, and efficiently investigated”,
and that the Sheriff and MCSO “conduct objective, comprehensive, and timely
administrative investigations of all allegations of employee misconduct,” Specifically, per
the Order, investigators must complete the administrative investigations “within 85
calendar days of the initiation of the investigation (60 calendar days if within a Division).”
Requests for extensions of time must be approved by the Commander of the
Professional Standards Bureau (“PSB”) and may only be granted if reasonable.

On July 10, 2020, the Monitor sent a letter to Sheriff Penzone expressing continued
concern over the growing backlog of complaint investigations. In that letter, in addition
to identifying a number of concerns, the Monitor noted the following:
            • Staffing in PSB had not increased since 2016, expressly noting that
               approved budgeted positions for PSB had gone unfulfilled.
            • Despite a specific request, MCSO had not prepared detailed suggestions
               on how the Order might be changed.

On August 12, 2021, the Court granted a motion by the plaintiffs and intervenor United
States to show cause as to why Sheriff Penzone and Maricopa County should not be
held in contempt for violating the Second Court Order.1 The Court found that the Sheriff
and the County have continually failed to complete internal investigations in a timely
manner. The Court cited evidence from the Independent Monitor for the MCSO

1
 On June 3, 2021, the Court held a hearing on the joint motion. During the hearing, the Court
discussed its thoughts on Defendants’ response, which provided Defendants’ justifications for
noncompliance. The Court stated that, even if it accepted everything in Defendants’ response
as true, it would hold Sheriff Penzone in contempt. Based on this observation, the Court offered
Defendants the option to concede liability and focus the order to show cause hearing on what
remedies to impose. In a joint report following the hearing, Defendants stated they would not
present any further substantive merits defense and opted to focus on remedies.


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(“Monitor”) reports that showed the average closure of a case took 204 days in 2018,
499 days in 2019, and 552 days in 2020. The Court found that the average closures far
exceeded the deadlines for completion set forth in the Second Order and were also in
gross violation of State law A.R.S. § 38-1110, which sets a 180-day time limit for
completing an investigation.2
The Court further noted that the Monitor found MSCO in non-compliance with the
Second Order’s paragraph 204 requirements in its November 2020 and February 2021
reports. In its November 2020 report, the Monitor found that, of the 65 administrative
misconduct investigations submitted for compliance review, only 11 investigations were
completed within the 60- or 85-day time frame. Moreover, of the remaining 54
investigations, only 14 contained acceptable justification for extensions of time. The
Monitor’s February 2021 report had detailed comparable shortcomings: of the 146
administrative misconduct investigations submitted for compliance review, only 74
investigations were completed within the required time frame or contained an
acceptable extension request and approval.
MCSO’s systemic tardy completion rate negatively impacts the quality and efficacy of
the internal investigations. As the Court observed in its December 18, 2020, Order,
delays in investigation have an inherent tendency to deny justice. This not only
because the unresolved nature of allegations is intrinsically unsatisfying, but also
because the passage of time can compromise investigative quality as memories fade,
and witnesses become unavailable. The Court further found that, pursuant to MCSO
policy, the appeals board “may dismiss […] discipline if it determines that the [MCSO]
did not make a good faith effort to complete the investigation within 180 calendar days.”

Methodology
Consistent with the Court’s appointment order, the Court’s Management Expert studied
the situation by engaging in discussions principally with plaintiffs’ representatives,
intervenor’s representatives, members of the MCSO, including the Sheriff himself. This
writer also checked in with the Monitor’s Team for background and context. This writer
further studied relevant court filings, policies, case reports, and other materials relevant
to the issue. Finally, the Management Expert attended relevant portions of the Monitor’
team virtual site visits that occurred during the review of this matter. During these
engagements, we found all parties candid and extremely accommodating to our
requests.
In April 2022, this writer prepared a Preliminary Report setting out initial findings and
recommendations and forwarded to the parties for their review. Subsequently, this
writer met a number of times with the parties to discuss issues set out in the Preliminary

2
    The State law provides specifies certain exceptions to this limit.

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Report. And per their request, the parties provided written comments and reactions to
the Preliminary Report. This writer then considered the feedback received from the
parties and the Monitoring team in crafting this final Report.
To the degree this Report provides any insights and a path forward, it would not have
been possible without the cooperation and interest of all parties and stakeholders.3

The Exponential Growth of the Complaint Investigation Backlog
As data collected by the parties and presented to the Monitor shows, as MCSO initiation
of investigations increased, the number of pending investigations also similarly
increased.
                       Initiation of Internal Investigations by PSB

    Year                                              Number
    2014                                              717
    2015                                              916
    2016                                              847
    2017                                              1,028
    2018                                              1,114
    2019                                              1,072
    2020                                              1,204
    2021                                              1,172



                                       Pending Investigations


    December 31, 2019                                 1,617
    December 31, 2020                                 2,010
    September 1, 2021                                 2,133
    March 30, 2022                                    2,086




3
  In its written response, the Plaintiffs and the United States assert that while they are “open” to
many of this writer’s Recommendations, they expressed concern that they do not set a clear
path to eliminate the backlog by a reasonable date or create a PSB capable of completing
thorough investigations within court-ordered deadlines. This writer respectfully disagrees with
this pessimistic view; provided the parties are amenable to the Recommendations set forth
herein, a path forward is provided toward reduction and elimination of the backlog by both
increasing resources and creating strategies to ensure that allegations of misconduct are
addressed by MCSO in the most effective and timely way.
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In short, as the number of new cases grew by more than 50% over seven years, the
timely processing of that expanded volume was simultaneously challenged by
heightened expectations as to quality and objectivity in the investigations themselves,
as established by the Court’s Second Order. That investigative strategy chosen by
MCSO to respond to the appropriate close review by the Monitor and the parties,
(designed to ensure that compliance is occurring), has contributed significantly to the
growing backlog of individual cases.
Indeed, MCSO has lagged woefully behind regarding the Order’s timeliness
requirements. As the below chart indicates, the “average” amount of days to complete
an internal investigation has risen to almost four times longer than state requirements
and over eight times longer than requirements of the Court.
                             Average Days to Close Investigations

    Third Quarter 2020                                520
    Second Quarter 2021                               663
    Third Quarter 2021                                655
    First Quarter 2022                                611


And as the below charts show4, while the brunt of the lack of timeliness is attributable to
lags between the initiation of a new case and the ability of investigators to actually start
working on them, significant time is also spent during the review process for completed
cases at both the lieutenant and captain level. In fact, the combined average review
period of 85 days reflected in the most recent evaluation period (and depicted in the
below charts) means that even one day of investigation would push MCSO beyond the
compliance period. Clearly, both duration of both the investigative and review process
need to be reduced drastically in order for MCSO to meet the timeliness requirements of
the Court order.5




4
    These charts constitute PSB investigations only.
5
 MCSO advised this writer that the average days for an investigator to submit an investigation
will be high while the investigators close out the older cases. A very old case will heavily skew
the average even if several cases were timely completed. For that reason, it may be helpful for
MCSO to prepare charts showing the mean of completion.
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           Average days between Investigator assignment
                    to submission to Lieutenant
700

600

500

400

300

200

100

  0
 JUNE-21     JULY-21   AUGUST-21   SEPTEMBER-21   OCTOBER-21   NOVEMBER-21   DECEMBER-21




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                         Average days for Captain Process:
 30


 25


 20


 15


 10


  5


   0
  JUNE-21      JULY-21       AUGUST-21   SEPTEMBER-21   OCTOBER-21   NOVEMBER-21   DECEMBER-21


The Impact of Untimely Complaint Investigations on
Accountability
The impact of untimely internal investigations on law enforcement accountability – and
public confidence in policing – is significant and very much worthy of each agency’s
attention. It is an issue that has both internal implications (for the organization and its
functionality) and external ones (for members of the public who are participating in or
monitoring the process.
The influence of punctual, efficient handling of misconduct allegations is multi-faceted.
A prompt investigative interview with a complainant, for example, will help to frame the
investigative direction of the case, including the scope of possible violations and the
proper inclusion of potential involved members. Not insignificantly, it also reinforces the
idea that the agency is appropriately responsive and taking the matter seriously.
There is similar value to the timely gathering of evidence before it is lost or degraded,
and the timely interviewing of witnesses while recollections are still fresh and availability
is still likely. Finally, interviews of the involved employees must occur before their
recollection of events is compromised – either actually or strategically – by extended
delay.
Clearly, the converse of these principles is also true, and the ability to conduct an
effective investigation decreases exponentially over time. Crucial external evidence
(such as commercial surveillance video of an event) may be lost if not retrieved right
away. Witnesses and involved members can more fairly claim to “not remember”
particular aspects of the event if interviews are conducted months after the incident.
Crucial witnesses may not be locatable.


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But even if the substantive outcome of a case were somehow not compromised by
delay, the collateral consequences are themselves worthy of being avoided.
Complaints are a mechanism for individual people’s concerns to be vindicated, and an
important source of feedback as to public perception, officer performance, and the
potential need for remediation. Given the issues of historical mistrust between law
enforcement and some communities of color, and given the socioeconomic vulnerability
or language barriers that some people must overcome in order to engage with the
system and even lodge a complaint, it is all the more important for the process to have
legitimacy. Timeliness affects the perception of that legitimacy, and therefore should be
a priority.
Understandably, a current or prospective complainant’s confidence in the process, and
inclination to participate in the first place, is significantly diminished if it takes months or
years before a complaint is resolved. The unspoken message is that you are welcome
to share your concerns but addressing and resolving them are simply not agency
priorities. Endemic and structural untimeliness undermines any faith in the integrity of
the process; justice delayed does in fact amount to justice being denied.
Moreover, MCSO should have a deep and vested interest in ensuring that complaints
are timely investigated. A complaint provides real notice to the agency that an
employee may have violated the organization’s expectations as set out in law or policy.
Until an investigation and review are completed, the agency remains in the dark about
issues that may require intervention. For those offenses that are serious and call for
potential termination or long-term suspension, the agency either has to relieve the
employee of duty – with pay – or run the risk of his or her continued service.
Even for offenses that are relatively minor, a timely course correction is important so
that agency expectations are immediately reinforced. Throughout the pendency of the
process, employees will continue to work in their assignments without relevant feedback
and may be more likely to reoffend as the initial allegation lays stuck in the investigation
queue. Similarly, any appropriate individual or systemic intervention (such as a targeted
training opportunity) is postponed to the detriment of its value.
Tardy internal investigations also impact the health of the organization in other crucial
ways. An involved employee is required to endure the stress of a delayed investigation
while it languishes in the system. And the unresolved nature of the case has potential
impacts on the employee’s ability to promote, transfer, or otherwise advance within the
organization while the inquiry is stalled within the system.
Meanwhile, MCSO’s own Professional Standards Bureau has been left to navigate both
years of intense criticism and a workload that is essentially self-defeating. The Monitor
has reported that in 2016, prior to the implementation of the Court’s Second Order, PSB
investigators were carrying an average active caseload of 12-16 cases each month,
consistent with industry standards. As of April 2021, however, the average active
caseload in PSB had burgeoned to 76 for detention investigators, 56 for sworn

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investigators, and 45 for civilian investigators. When each investigator has such an
unmanageable case load, it breeds feelings of hopelessness about any ability to control
one’s cases. The resultant low morale necessarily eventually erodes even the most
committed investigator’s dedication to the mission of accountability.
Ultimately, an agency that routinely cannot timely complete internal investigations
undermines its own operational effectiveness, strains the morale of employees, and
weakens public trust in its commitment to meaningful accountability. Each of these
consequences is fundamentally harmful to legitimacy.

The “Root Causes” of the Backlog
The Court proceedings demonstrated that during the years in question, particularly
under the leadership of Sheriff Joe Arpaio, there was no consistent or effective handling
by MCSO of internal affairs investigations. In issuing its Second Supplemental
Permanent Injunction, the Court, while referencing its May 2016 Findings of Fact noted
that:
       Defendants, or their proxies, named disciplinary officers who were biased in their
       favor and had conflicts, Defendants remained in control of investigations in which
       they themselves had conflicts, Defendants promulgated special inequitable
       disciplinary policies pertaining only to Melendres-related internal investigations,
       Defendants delayed investigations so as to justify the imposition of lesser or no
       discipline, Defendants misapplied their own disciplinary policies, and Defendants
       asserted intentional misstatements of fact to their own investigators and to the
       court-appointed Monitor. The Court found that Defendants were “manipulating
       the operation of their disciplinary processes to minimize or altogether avoid
       imposing fair and equitable internal discipline for misconduct committed against
       members of the Plaintiff class”.
The Court found that “the violation permeates the internal affairs investigatory
processes, which have been manipulated to provide impunity to those who violate the
rights of the Plaintiff class”. Accordingly, the Court issued a Second Order, setting out
detailed requirements for how allegations of misconduct were to be handled.
Since that time, MCSO has endeavored to produce internal investigations that were
designed to comply with the Court’s Second Order as to quality, objectivity, and
thoroughness. And to a significant extent, there is evidence that such effort has
succeeded, at least with regard to producing fair and thorough investigations. For
example, in its 28th Report (covering First Quarter 2021) the Monitor reported that the
“overall investigative quality for cases investigated by PSB and submitted for
compliance has remained high”.
However, while the Monitor has found improvement in the quality of PSB investigations,
the positive results in that area have been eclipsed by the development of an
unacceptable backlog of cases as detailed above. MCSO has candidly admitted that it

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prioritized quality over timeliness in its efforts to improve the cadre of investigations and
the review process. One strategy employed by MCSO was to endeavor to follow a
spreadsheet of investigative tasks that was provided by the Monitor’s Team, at MCSO’s
request, and ensure that every investigation complied with the spreadsheet criteria.6
While doing so increases the likelihood that an investigation will be found in compliance,
it has resulted in a significantly longer timeline to complete each investigative task. The
result was investigative work that was likely not “necessary” in order to fully assess the
misconduct allegations but was done in order to better ensure that the case would be
found “in compliance”.7
Moreover, as detailed below, the greater resource demands needed to achieve the
investigative quality set out in the Court’s Second Order, were not sufficiently addressed
by MCSO. Clearly, since more was expected to ensure that an investigation was
thorough, there should have been a concomitant increase in resources by MCSO to
ensure there were sufficient investigators to do the additional work without sacrificing
timeliness. As soon as 2017, instead of increasing PSB’s investigative resources,
MCSO began to push back on the changes required by the Court’s Orders. As a result,
the quality control issue was soon eclipsed by the timeliness issue. The burgeoning
backlog eventually led to the aforementioned contempt findings for Sheriff Penzone and
the County.8


6
 The spreadsheet was a tool developed by the Monitor’s team and was used for internal
purposes. The spreadsheet is simply a reduction of the investigative requirements set out by
the Court Order.
7
 Plaintiffs and the United States have suggested a need for a more intensive “file review” to
determine whether changes to investigatory practices may free up PSB resources. However,
such an exercise would be resource intensive, and add further delays to moving forward on the
recommendations set out here. MCSO has admitted that its investigators largely follow the
expectations they believe are necessary for the investigation to be found in compliance rather
than making case by case adjustments to the investigative plan, which is the most significant
reason investigations currently take so long. And the Recommendations offered below are
precisely intended to address this phenomenon by providing some flexibility on how an
allegation of misconduct is handled. That being said, it would be expected that one of the initial
tasks of the CPA would be to further examine the flow of cases through the investigative,
review, and, when relevant, disciplinary process to identify additional strategies to streamline
the case processing protocols.
8
 Plaintiffs and the United States have suggested a further review of data to determine the
following:
        Identifying “slow” investigators
        Whether PSB is assigning investigations with overlapping facts to the same investigator
        Whether PSB is streamlining time-consuming tasks
        Whether additional training would reduce the volume of complaints
        Whether vindictive employees are weaponizing PSB
Again, this deeper dive into data is unnecessary to determine the remedies identified in this
Report and would unnecessarily delay moving to a consideration and implementation phase of
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As it is, while certainly the underpinnings of the multitude of Constitutional violations
identified in this case, including the wholesale corruption of the internal investigative
process and accountability function lay at the feet of former Sheriff Arpaio, it has been
over five years since Sheriff Penzone has been at the helm of MCSO. Accordingly, the
current intolerable backlog of cases is now his responsibility and to date, insufficient
resources have been committed to ensure quality, fair and timely investigations of
misconduct allegations.
As further detailed below, there were periods prior to the installation of the current
Captain in which significant delays in the review process were causing investigations to
languish without any meaningful activity. The new PSB Commander eventually
discovered a stack of files that had not been reviewed and learned that PSB supervisors
had been provided the ability to grant themselves extensions, resulting in a serious
delay in the review process. The lack of internal controls by prior PSB leadership and a
lack of focus on the timeliness issue were contributing causes to the development of the
backlog.9
And as detailed below, another significant contributing cause to the backlog was the
inability of PSB to more effectively address allegations of misconduct through modified
investigative protocols or non-investigative interventions. While the Monitor has
appropriately provided relief for non-investigative interventions in a limited number of
cases, the parties have been unable to reach a consensus with regard to other
reasonable accommodations designed to more effectively address certain types of
misconduct allegations. And the inability of the parties to agree to any significant
accommodations led to MCSO seeking direct relief from the Court from certain aspects
of the Court Order. The failure of the parties to obtain additional consensus on more
effective ways to handle certain allegations of misconduct is also a significant
contributing factor to the case backlog.
In the next section this writer sets forth adjustments that have been made over the
course of judicial supervision intended to alleviate the timeliness issue as well as sets
out MCSO’s additional efforts and suggestions to alleviate the backlog. Following that
discussion is this writer’s Recommendations intended to address and remedy the root


the offered Recommendations. Moreover, as set out elsewhere in the Report, certain strategies
have been used by the current PSB Captain to streamline tasks within the limited discretion
currently afforded him. And it is hard to know how one would perform some of these suggested
tasks; such as how to know through file reviews whether additional training would reduce the
volume of complaints.
9
  The Plaintiffs and the United States suggest that there be further review to determine the
particular reasons for the slowness of the review process. Again, this writer believes this
additional work would not be fruitful and is unnecessary at this point. In fact, as noted below,
one of the key Recommendations is the development of internal mechanisms to monitor the
length of PSB review process, which could be a primary function of the Captain, aided by the
expertise of the CPA.
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causes set out here, namely, the failure of MCSO to increase investigative resources to
handle the increased expectations of the Second Order and the failure of the parties to
develop a path toward more effectively and efficiently addressing certain allegations of
misconduct.

Adjustments Intended to Alleviate the Timeliness Issue
Service Complaints
Service complaints involve allegations where there is no employee misconduct; or are
complaints where it is determined that MCSO employees are not involved. The use of
the service complaint protocols designed to handle allegations more effectively when
there is no ascertainable employee misconduct commenced in 2017. In July 2019, the
Monitoring Team and the Parties approved MCSO’s proposal to use an expedited
process to handle complaints where it could be immediately determined that the
complaint did not involve MCSO personnel. A significant percentage of “complaints”
received by MCSO are classified as service complaints. For example, the Monitoring
Team’s Thirty First Quarterly Report (Fourth Quarter 2021) found that MCSO had
closed 98 service complaints during that reporting period.

Supervisor-Initiated Interventions
The Monitor and the Parties also approved revised policies that permit supervisor-
initiated interventions such as “coaching” to address minor misconduct in certain limited
situations.10 MCSO maintains that because the “carve out” is narrow, the process had
not been used as frequently as anticipated. MCSO reports that in 2020, the PSB
Commander converted 84 internal complaints into supervisor-initiated interventions.

Telephonic Interviews/Relaxation of Witness Interview Requirements
And in December 2018, the Monitor and the Parties also approved revisions to the
witness and complaint interview processes designed to assist with streamlining
investigations. Under the revised protocols, PSB investigators must offer to conduct
witness and complainant interviews in person but are permitted to conduct them by
phone. PSB investigators may also seek approval from the PSB Commander to be
excused from the obligation to interview all witnesses in certain circumstances.
These sensible adjustments to MCSO’s investigative protocols have reduced the
investigative resource burden on the Sheriff’s Office. Yet as detailed below, additional

 Specifically, as set out in MCSO’s Policy GH-2, Internal Investigations relating to “Minor
10

Misconduct”: To address these employee behaviors, supervisors may initiate an intervention
method, as specified in Office Policy GH-5, Early Identification System, to include: squad
briefing; meeting with supervisor; employee services; supervisor ride-along/work along; training;
supervisor evaluation period; action plan; meeting with the commander; re-assignment; and
coaching.


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potential adjustments have stalled as a result of the Parties’ inability to develop a
consensus on their appropriate parameters.

MCSO’s Additional Efforts to Address the Timeliness Issue
MCSO has advised the Court and this writer of its continued efforts (and suggestions) to
address the timeliness issue. This report now turns to those representations and
provides further analysis of the complexities therein:
Hiring of Staff
MCSO maintains that the Sheriff’s Office PSB has more than doubled in size since
2015, when it had a total staff of 25. According to MCSO filings from 2021, it projects a
total staffing of 60 positions at PSB. While this is significant on its face, a closer review
indicates that little of this expansion has occurred in the category of actual investigators,
where the bulk of the Bureau’s burgeoning workload must be addressed.
In its most recent quarterly report, the Monitor found that PSB had not increased its
investigative staff in more than four years, despite the rapid increase in investigator
caseloads and backlogs. The Monitor reported, however, that PSB filled the majority of
the civilian positions authorized in the 2019 budget and began assigning administrative
staff to complete a variety of tasks previously completed by investigators. The Monitor
further reported that PSB had also hired three civilian investigators.
The Monitor further reported that during the July and October 2020 remote site visits,
PSB advised that only one of the 11 positions approved in the 2018 budget had been
filled. All of the civilian positions authorized in the 2019 budget had been filled, and the
three civilian investigators hired were now conducting investigations. According to the
Monitor, no additional requests for PSB staffing were made for the July 2020 fiscal year.
The Monitor reported that during the January 2021 remote site visit, PSB staffing was
discussed yet the Monitor determined that again, no additional staff had been allocated
to PSB. The Monitor reported that there had still been no measurable change in the
number of investigators assigned to PSB since 2016, despite the demonstrable
increase in workload and backlog. The Monitor reported that the number of investigators
assigned to PSB had remained between 24 and 26 since 2016. At the end of 2019, PSB
had nine sworn investigators and 15 Detention investigators, a total of 24. At the end of
2020, PSB had a total of 25 investigators. Of these, seven were sworn, 15 were
detention, and three were civilian investigators.
The Monitor reported that PSB had a total of 54 staff members at the end of March
2021. Of these, eight were sworn investigators and 15 were Detention investigators.
The three civilian investigators also had full caseloads, bringing the total of assigned
investigators to 26. The remaining 28 staff members in PSB were supervisory staff
(nine), administrative staff (10), criminal investigators and staff (five), Division case
reviewers (two), and building security staff (two). PSB personnel also advised that it had


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converted seven of the unfilled sergeant positions from 2018 to civilian positions and
had received approval to hire three additional civilian investigators and four additional
administrative staff. The Monitor reported that there were still three unfilled sergeant
positions from the 2018 budget allocation.
The Monitor reported that during the July 2021 site visit, PSB advised that there were
56 employees assigned to PSB. Of these, nine were sworn investigators, 14 were
Detention investigators, and three were civilian investigators. The Monitor concluded
then that the total number of investigators (26) was essentially still the same number of
investigators that have been assigned to PSB since 2016.
The Monitor reported that during the October 2021 site visit, the Bureau advised that
there were 55 employees assigned to PSB. Of these, eight were sworn investigators, 13
were Detention investigators, and six were civilian investigators. The Monitor again
concluded that the total number of investigators, 27, remained essentially the same as it
has been since 2016. Tellingly, the Monitor reported that “as documented in this and
previous reports, PSB, in its command’s estimation, is understaffed.”11
MCSO reported at the April site visit that there were 58 employees assigned to PSB:
 Sworn Investigators                           11
 Detention Investigators                       15
 Civilian Investigators                        6
 Supervisory Staff                             6
 Administrative Functions Staff                12
 Division Review                               1
 Criminal Investigators                        2
 Criminal Review                               1
 Criminal Support                              2
 Security                                      2


More significantly, MCSO reported that PSB currently has seven vacancies that are
authorized by its current budget but have not been filled for years. Accordingly, even
without a request for increased resources from the Board of Supervisors, the real
difficulty is MCSO’s stated difficulty in filling the current vacancies that are budgeted. If
even that were accomplished, it would result in a serious increase in PSB investigative
resources and align at least PSB with the staffing it is intended to have. Cognizant that
MCSO has significant sergeant vacancies throughout the organization, the Court Order
and the erosion of trust created by the serious backlog make it imperative that MCSO at
least bring PSB to its currently allotted budgetary level.



11
  MCSO reported that as of December 31, 2021, overall PSB staffing of 54 included 31
investigators.


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As detailed above, the case load per investigator has only continued to balloon. In
order to close the current case load of more than 2,000 open cases, and assuming that
its investigators could close 25 cases per year (well above the current average of 17 per
year), the Sheriff’s Office would need at least 40 total investigators in order to address
the backlog. Moreover, during those two years, and based on recent trends, another
2,000 new investigations would presumably be initiated – an additional volume that
would require another 40 investigators to address.12
Clearly, then, the existing staffing level is inadequate to the task that confronts MSCO.
But at the same time, it should be noted that any proposed solution is not happening in
a vacuum; rather, it must be reconciled with other operational – and Court ordered –
imperatives that relate to the reform process.
It has been suggested, for example, that the Sheriff’s Office simply transfer the requisite
number of sergeants into PSB (50+ based on current projections) so that it could
address the backlog of pending cases in the next two years. However, as MCSO has
pointed out, there are logistical challenges to that approach.
First, MCSO maintains that current high vacancy rates make it difficult to move
sergeants from field assignments to PSB. MCSO further notes that the Court’s Order
relating to field span of control also complicates MCSO’s ability to move sergeants out
of patrol assignments. Paragraph 266 of the Order requires that first-line patrol
supervisors shall be assigned as primary supervisor to no more than eight persons and
in no event more than ten persons. MCSO’s concern that taking sergeants out of the
field in an effort to comply with one aspect of the Order could create compliance issues
with Paragraph 266 is not a hollow one: indeed, as MCSO has already been challenged
with remaining in compliance with this provision. In fact, a recent Monitor’s report
expressly stated that MCSO will lose compliance – including Full and Effective
Compliance –if the MCSO’s compliance numbers with Paragraph 266 span of control
requirement’s again fall short. As the Monitor indicated: “The increase in the shifts
where supervisors have had more deputies than Order requirements permit is
concerning.”
One related question that is not addressed in any papers filed by MCSO is whether the
current field deployment of deputies and sergeants is “right-sized” for the Sheriff’s Office
responsibilities in fulfilling its public safety responsibilities. In other words, the Sheriff’s
Office assumes that its current deployment of sergeants and deputies in patrol and the
jails is necessary to provide sufficient resources, yet there has not been a recent
staffing study to evaluate whether those expectations match up with current
deployment. Commissioning such a study would assist Sheriff’s Office leadership (as


12
  In a January 2020 Memorandum submitted to the Monitoring team, PSB projected that it
would need a total of 123 investigators to remain on par with the appropriate
investigator/caseload ratio.


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well as the Monitor and the parties) with determining whether a reduction in resources
could be accomplished without serious sacrifice of its public safety responsibilities.13
Another frequent stopgap used by law enforcement when there is a shortage of
resources is the use of overtime funding. However, by reviewing the monies paid PSB
investigators for overtime, it is apparent that they are already working significant
amounts of overtime:
 YEAR                                           TOTAL OVERTIME PAID TO PSB
                                                INVESTIGATORS
 2019                                           $657,718.93
 2020                                           $413,512.56
 2021                                           $508,148.52
 2022 (as of April 30)                          $147,213.00



This amount of overtime expenditures for the unit is already high. More significantly,
relying on investigators working significant amounts of overtime is not sustainable year
to year; instead, there is an inevitable employee “burnout” and a concomitant decline in
the dedication to and quality of work.14
Use of Private Contractors
In April 2021, MCSO advised the Monitor that it had hired five private contractors to
assist with the Sheriff’s Office caseload as a “pilot project”. While the additional
resources could help reduce the caseload, the initial results have been modest. As of
October 2021, 25 cases had been assigned to contract investigators and only eight had

 The Monitor regularly reviews sample Patrol Activity Logs (“PAL”s) which is one metric with
13

which to consider MCSO patrol activity. In its 30th Report, based on those PAL samples, the
Monitor reported the following:

 Date         Incident      Calls for        Self-Initiated   Arrests         Travel
              Reports       Service          Calls                            Distance
 July          .73          4.64             1.33             .06             60.9
 2021
 August     .97             4.44             0.97             .00             89.56
 2021
 September 1.11             5.39             1.89             [Missing from   70.35
 2021                                                         data set]




14
  It should be noted that some of the overtime paid to PSB investigators includes field
assignment responsibilities. Considering the current backlog, PSB investigators should be
protected from such assignments so that they can focus on addressing their caseload.


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been completed and finalized, while an additional five had been completed and returned
to MCSO for review and finalization. While one would expect an uptick in the number of
cases closed by the private contractors once they become more familiar with PSB’s
General Orders and the Order’s investigative expectations, this commitment of
resources have yet to make a significant impact on the current caseload.15
Policy Revisions
MCSO notes in filings with the Court that in 2017, it revised its internal policies to allow
the PSB Commander to classify certain complaints as “service complaints.” Under the
process approved by the Monitoring Team, service complaints may be handled by
district supervisors, subject to PSB’s and ultimately the Monitor’s review.
Changes in Internal Procedures
MCSO reports that PSB has used strategic techniques to process and triage its
caseload and other aspects of the process in order to shorten the timeline for
completion. For example, greater use has been made of non-investigative personnel to
obtain documents and other records in order to unburden investigators with such tasks.
Another more recent example is to reassign PSB personnel who were involved in
complaint intake to investigative responsibilities.
As another example, PSB used to serve notice of disciplinary action to deputies but now
have employees travel to PSB to pick up the notice. Changes in protocol that transfer
non-investigative responsibilities away from investigators are helpful time-saving
measures that must continue to be identified.
District and Division Investigations
MCSO reports that Patrol Districts and Divisions closed 133 Internal Affairs
investigations in 2020. Greater use of the patrol districts and division supervisors may
offer an opportunity to address the backlog of cases, but it would require assurances
that such a move does not sacrifice quality of investigations. Very recently, MCSO has
reported an intent to actually decrease reliance on district and division supervisors to
conduct internal investigations due to the extended review process that occurs at the
District and Division level. This move will potentially create a greater burden on already
overburdened PSB investigators.16 If MCSO determines to retain a greater percentage
or all cases with PSB, the change may concomitantly reduce resource burdens from

15
  As MCSO has reminded this writer, there are considerable costs associated with the use of
private contractors and there are challenges in identifying and retaining qualified investigators.
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  MCSO maintains that the potential impact on PSB is uncertain in that the change would
decrease the burden on PSB that results from sending cases back to the districts for multiple
corrections. MCSO further maintains that the change considered the burdens that would be
added to PSB as well as the burdens that would be lifted from PSB and that the approach taken
will lead to a greater percentage of compliant investigations.


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Districts and Divisions. Any burden reduction for the Districts and Divisions should
potentially allow for the transfer of sergeants to fill the outstanding vacancies at PSB.17
Use of Human Resources Bureau
MCSO reported that it recently created the Employee Retention Performance Division
(“ERPD”) within its Human Resources Bureau. MCSO further reports that it has started
a pilot program designed to determine whether appropriate complaints could be handled
by ERPD. It estimated that one hundred complaints annually might be able to be
handled through this process – a noteworthy redistribution of the larger total. However,
there is currently no offloading of PSB cases to ERPD.
The MCSO’s Request for Relief from the Court Order
MCSO maintains that the Order that was crafted to address the constitutional violations
found by the Court has played a role in contributing to the massive backlog of internal
investigations. Ultimately, the Court will determine what relief, if any, will be granted to
the existing Order. But the following possibilities were raised to this writer during the
course of the review preceding this report (with plaintiff input included where relevant):
Changing Definitional Timelines for Untimely Cases
MCSO suggests changing the current timelines for completion of internal investigations
(85 days for PSB/60 days for District) to align with the state law timeline of 180 days.
This new standard would obviously increase the likelihood of a given case being
finished “on time.” But, as discussed below, it would seemingly be more a matter of
form over substance in terms of addressing the underlying problems that have fueled
the delays – many of which extend well beyond the 180-day mark as it is.
Increased PSB Commander Discretion
MCSO has requested that the PSB Commander be provided discretion on whether to
open and close Internal Affairs investigations. Currently, the PSB Commander has the
responsibility for “making an initial determination of the category of the alleged offense”
and assigning complaints to an investigator. The Second Order authorizes the PSB
Commander to have any complaints involving minor misconduct to be investigated at
the employee’s District. Current MCSO policy permits supervisor interventions for
internal complaints alleging “minor misconduct”, but no interventions are permitted for
external complaints.




17
  MCSO maintains that it is premature to consider transferring sergeants from Districts and
Divisions to PSB because the field units still have investigations to complete. MCSO also notes
that the sergeants in the field who work on investigations also have other enforcement and
administrative responsibilities beyond investigations.
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Misconduct Allegations that Occurred More Than a Year Before the Complaint was
Filed.
Currently, MCSO is required to investigate all complaints of employee misconduct,
regardless of when it occurred. MCSO has asked that the Order be modified to permit
the PSB Commander discretion not to open an Internal Affairs investigation for
complaints alleging conduct that occurred over a year prior to receipt of the complaint.18
MCSO suggests that such discretion would not apply to allegations involving a member
of the Plaintiff class, allegations of criminal misconduct, allegations of bias, or
allegations in which a sustained violation would result in revocation of the principal’s
AZPost certification. MCSO suggests that factors relevant to the exercise of discretion
should include the severity of the alleged misconduct, whether the allegation involved a
supervisor’s failure to properly supervisor or take corrective action, and whether there
was good cause for the delay in filing a complaint.
Complaints about Former Employees
MCSO suggests that it be afforded discretionary authority over opening an investigation
into a complaint alleging misconduct solely by former employees as well as discretion to
close a complaint if an employee leaves MCSO before the investigation is completed.
MCSO proposes that “significant complaints,” including all complaints involving
members of the Plaintiff class, would still be investigated.19
Regarding the proposal, Plaintiffs and the United States expressed concern that a
person may retire or resign solely because of the pending investigation. This outcome
could potentially diminish accountability in the very way that Plaintiffs and the United
States have cautioned against.




18
  Initially, PSB suggested that cases that occurred more than six months prior to receipt of the
complaint should be subject to administrative closure. In a Memorandum provided to the
Monitoring team in January 2020, PSB projected that with a six month window, 8% of pending
investigations could be administrative closed. PSB provided no detailed data supporting this
projection.
19
   In a Memorandum provided to the Monitoring team in January 2020, PSB projected that 12%
of pending investigations in which the Principal is no longer employed by the MCSO could
potentially be administratively closed. MCSO provided no detailed data supporting this
projection.


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Complaints that Are Withdrawn or Where the Complainant is Unwilling to Cooperate
MCSO requests that the PSB Commander be afforded discretion to close investigations
if the complainant withdraws the complaint or is unwilling to cooperate with the
investigation.20
Complaints Alleging Minor Misconduct
MCSO requests that the PSB Commander be afforded discretion to refer allegations of
minor misconduct for supervisor interventions without the need for a formal internal
affairs investigation. Currently the Second Order permits allegations of minor
misconduct to be administratively investigated by a supervisor in the employee’s district.
Supervisory interventions are currently allowed for allegations of “minor misconduct”
that have not been received as an external complaint or have not already been
assigned to PSB. MCSO suggests that the existing protocol be expanded to
encompass those external complaints that are substantively minor in nature.
Plaintiffs indicated no objection to using supervisory interventions for a “specific, narrow
category of minor policy violation” that does not directly involve interactions between
MCSO and members of the community. The plaintiffs contend that such categories
could include allegations of uniform violations, tardiness, delays in completing
paperwork, or other minor issues.
Plaintiffs and the United States has suggested that MCSO should specifically identify
the policy violations that would be eligible for this process. They have further indicated
that additional accountability measures would also be necessary, including some PSB
oversight, auditing for consistency across the agency, and a means to escalate
performance issues to PSB when appropriate. DOJ has further suggested that it would
also be prudent for MCSO to test this initiative in a pilot, perhaps designed for six
months’ time.
MCSO maintains that “minor misconduct” that might be eligible for non-investigative
interventions should also potentially include external complaints from members of the
public, provided they do not involve the plaintiff class or involve allegations of bias.21




20
   In a January 2020 Memorandum provided to the Monitoring team, PSB estimated that 8% of
the pending cases could potentially be administratively closed on this basis. No backup data
was provided to support this estimate.
21
  In a January 2020 Memorandum provided to the Monitoring team, PSB estimated that 26% of
the pending cases could potentially be reclassified for a supervisor intervention. No backup data
was provided to support this estimate.


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Plaintiffs and the United States’ Concern about Providing PSB Commander Additional
Discretion.
Plaintiffs and the United States had indicated a reluctance to institute new systems that
would centrally rely on the judgment or discretion of the PSB Commander. Plaintiffs
and the United States reference the prior recalcitrance of MCSO and repeated
examples of how discretion was “abused” historically by the organization as forming a
basis for this inherent lack of trust in its ability to appropriately exercise discretion in the
internal investigation arena.

Management Expert’s Recommendations
The backlog of cases continues to grow, as does the inordinate case load assigned to
PSB investigators, and complainants are waiting for years to have their concerns
investigated and addressed. As detailed above, the reasons for this are multi-faceted.
Accordingly, the situation calls for creative approaches that address the backlog while
ensuring that internal investigations of misconduct meet the expectations set out in the
Court’s Orders and are consistent with industry standards. This writer offers the
following recommendations designed to address the intolerable backlog.

A Need to Increase Investigative Resources
Increase the Number of PSB Investigators by Filling All Current Vacancies
Considering that there are currently 27 investigators assigned to PSB, and that the
agency’s current entire cadre of sergeants is just about 350, almost 8% of all MCSO
supervisors are already assigned to PSB. This is inordinately high for any law
enforcement agency, and this writer is also mindful of the competing Court Order
requirements mentioned above as to maintaining an effective span of control in the field.
Still, as detailed in the Monitor’s reports cited above, the past five years has not seen a
significant increase in the number of investigators assigned to the unit – even as the
backlog continues to grow and the problem of unresolved cases undermines MCSO
credibility.
As a demonstration of recognition of the inadequacy of current PSB investigative
resources, it is recommended that MCSO increase the size of PSB so that the seven
current vacancies are immediately filled by either sworn or civilian investigators, at least,
until the backlog returns to manageable numbers.22 However, as explained above, this
considerable increase of size of PSB will not resolve the current backlog alone.23 For

22
 If MCSO opts to staff the vacancies with civilian investigators, it should at least ensure that
PSB is enhanced by at least seven individual investigators.
23
  Plaintiffs and the United States have indicated support for this Recommendation but express
concern that the limited additional investigators would not be sufficient to clear the backlog. We
share those concerns and say so explicitly, hence the Recommendations designed to make
PSB more efficient while ensuring misconduct allegations are fully addressed. As stated above,
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that reason, and as detailed below, much more must be considered to address the
massive challenges identified by the Court, the Monitor, and the parties.24
Increased Use of Contract Investigators
MCSO has retained five contract investigators as a pilot project in an effort to address
the intolerable case load backlog. While that admirable expense and effort has yet to
significantly impact the backlog, the tenure of the contract investigators has been
relatively brief. With time and further guidance, their output and impact on the
outstanding case load can be expected to increase. For that reason, MCSO should
maintain the program and bring on three additional contract investigators as
supplemental resources to PSB.
The Critical Need for MCSO to Commit to Dedication of Investigative Resources
The above-noted recommendations, if implemented, will increase MCSO’s investigative
resources for internal investigations by nearly 30%, a sizeable jump that should make a
considerable impact in addressing the timeliness issue. However, should future data
reveal that even more investigators are needed to appropriately and timely investigate
allegations of misconduct, the Sheriff must exhibit a commitment to finding those
resources so that Constitutional expectations of accountability are met.

Methods Designed to Increase the Efficiency of MCSO’s Internal
Investigative Function Without Sacrificing Accountability
Creation of Internal Oversight of PSB Functions: The Concept of a Constitutional
Policing Advisor
As detailed above, one of the major concerns expressed by plaintiffs is the lack of trust
in MCSO’s investigative process as a result of the agency’s legacy of abuse of its
discretion in this arena. The judicial proceedings that resulted in the Orders established
that there was little interest in MCSO leadership at the time in ensuring that complaint

this writer agrees with Plaintiffs and the United States that MCSO should retain the discretion to
fill the vacancies with civilian positions, provides there are the same or more investigators
assigned to PSB when those positions are filled. And if the reforms and the additional
dedication of resources do not “bend the curve” of the backlog, additional staffing may be an
appropriate remedy. In this writer’s view, Plaintiffs and the United States recommended
consideration of an “external team” to be solely responsible for clearing the backlog would
engender other issues of selection, training, and quality control and is not a feasible alternative.
24
  As noted above, MCSO has expressed concern about transferring sergeants to PSB with the
potential risk of violating the Court’s Order regarding span of supervisory control and the
concerns about undermining its public safety responsibilities to County residents. We
understand that MCSO has not undertaken a patrol staffing study in recent history. We
recommend that MCSO commission such a study so that it can learn the appropriate level of
staffing for its patrol responsibilities.


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allegations would be objectively and fairly handled through a robust internal
investigative process. Importantly, current MCSO leadership has recognized the truth
of that legacy. While the Monitor has indicated in its reports that the quality of the PSB
internal investigative process is better positioned now to meet industry standards, it is
understandable that the moving parties in the litigation retain a measure of distrust and
are reluctant to cede increased discretion to MCSO.
However hard-earned the plaintiffs’ perspective may be, one of the consequences of it
is a perpetuation of the cycle of delay. PSB dutifully opens cases under the current
paradigm and generally applies the metrics set out in the Order to predict whether each
investigation will be deemed compliant by the Monitor (and the parties). To date, the
strategy of the Sheriff’s Office has been to try to ensure that each investigation will meet
the Order’s requirements – with timeliness taking a back seat to the other elements of
the standard. While that emphasis on quality is in some ways admirable, the work
needed to complete the extra requirements has caused the backlog to increase to a
point at which the integrity of the investigative process itself is imperiled.25 If internal
investigations are taking years to complete, the fact that those investigations are
“compliant” with the remaining substantive requirements of the Order is of little moment.
In order to best determine how to extricate the Sheriff’s Office from the growing
quagmire of delayed cases, it is helpful to consider the objectives of the complaint
investigative process. When an allegation of misconduct is received, it is incumbent on
a law enforcement agency to conduct sufficient inquiry to determine whether the
misconduct occurred in order to usually remediate or, in rare occasions, separate the
employee from service depending on the egregiousness of the transgression. In
addition, complaints of misconduct should also be used by an agency as sources of
information regarding deficiencies in training, policy, guidance, supervision, and
equipment. An internal inquiry that is sufficient to accomplish these paramount
objectives is fundamental to an agency’s operational well-being.
However, that does not necessarily mean that every internal investigation needs to
incorporate the same investigative steps in order to achieve these goals. On the
contrary, as explained below, some allegations of misconduct may need no or minimal
investigation to achieve these ultimate objectives. For example, in cases where there is
no dispute about what occurred, there is little need for a full-fledged investigation.
Moreover, cases that are redirected to a restorative justice approach may not require
formal fact-finding. And some allegations may not need a formal investigation where
coaching or less formal interventions can ensure an appropriate course correction for
the subject employee.


25
  This writer also notes related conversations with plaintiffs’ representatives, who raised
concerns that PSB was deliberately treating the requirements as an excuse to drag out the
process by “working to rule” rather than as a constructive check on quality. That suspicion goes
to larger issues of trust that are addressed below. MCSO strongly refutes this allegation.
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Effective internal accountability systems recognize that the appropriate response among
these options is dependent on the nature of the allegations and a review of any pre-
existing information collected during the initial phase of the inquiry. Those same
systems invest more time and effort in the initial review of the allegations, the
appropriate scoping of those allegations, and the development of an action plan to
address them. Effective intake work would identify the potential policy violations,
potential subjects, and whether the case is assigned for investigation by PSB, the
Districts, or handled another way as explained in further detail below. Those
responsible for the intake and initial review are imbued with sufficient discretion to direct
each allegation down a path that will achieve those overarching objectives of
accountability and agency improvement.
As explained above, MCSO believes that the discretion of the PSB Commander to craft
an appropriate action plan for each allegation received has been undercut – to the
detriment of overall effectiveness – by the investigative requirements set out in the
Order as interpreted by the Monitor. However, to the degree that this belief has any
purchase, it is also important to note that the incursion on MCSO’s discretion emerged
as a response to the systemic abuse of that discretion and the resultant (and well-
documented) Constitutional violations identified by the judicial proceedings. During the
pendency of the current judicial supervision, it is understandable why there is concern
about providing increased discretion to PSB on how best to handle misconduct
allegations.
One way forward has been established in other jurisdictions, where agencies have
addressed challenges to their ability to direct the investigative process by agreeing to
incorporate an objective entity into the process. For example, under the judicial
oversight of United States District Judge Thelton Henderson, a central intake process
was designed to address the backlog and poor quality of internal investigations
conducted by the California Department of Corrections and Rehabilitation.26 A key
aspect of the process that resulted in “buy in” by the plaintiff class was the insertion of
representatives of the California Department of Justice Inspector General into the intake
process. As a result of this reform (and many others), CDCR was able to create a more
functional internal investigative process that ensured timely investigations.
Other law enforcement agencies have replicated this concept by including an
independent Constitutional Policing Advisor (“CPA”) into the central intake process.
Under this model, the CPA is an individual who has experience in the oversight or
management of internal investigations and is given the authority to participate and
weigh in on critical initial decisions about a case: whether to open an investigation,
whether the allegations can be best handled another way, and what will be needed in

26
 The Inspector General reported that prior to judicial intervention and a crafting of a remedial
plan, 40% of investigations were not timely completed, resulting in CDCR not being able to hold
subject employees accountable in those cases.


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order to ensure accountability and learning from each allegation. The CPA is provided
unfettered access to all materials and participates in real time in the “central intake”
process described in further detail below. The CPA also functions as an independent
quality control check as investigations move forward, in vital areas such as timeliness,
thoroughness, and objectivity.27
An entity of this sort could certainly be helpful to the pending situation in Maricopa
County, and its mission could be tailored to the specific circumstances of MCSO and
the ongoing judicial supervision. Ideally, the CPA would also be provided with the
responsibility to publicly report on what it is finding, and the degree to which MCSO is
accepting of her/his recommendations for how each particular allegation is to be
handled.28 And finally, the CPA should be afforded the ability to interact with the
Community Advisory Board (“CAB”) to explain its role, report on what it is finding, and
hear any concerns that the CAB might have.29
Ideally, the CPA would be on a contract basis with the County and provided space
within PSB to perform the central intake function and be readily available as an “on-site”
resource. The CPA’s qualifications would include experience with internal law
enforcement investigations and Constitutional law. Prior to selecting the CPA, the
County should solicit input on potential candidates from its served communities, the
Community Advisory Board, the Monitoring team and the parties.
Plaintiffs and the United States have cautioned that if MCSO is provided full discretion
on the selection of the CPA, it would necessarily reduce its independence. They have
suggested that the County be the selectee of the CPA.30 They have further suggested
that the hiring and firing of the CPA require Court approval. MCSO has indicated that it

27
  During our multiple visits with the parties and after the submission of our Preliminary Report,
we encouraged their representatives to meet with individuals who are currently serving as
CPA’s or who were involved in developing a central intake process with independent entities
providing input. To its credit, representatives of MCSO did meet with individuals who are
performing or who have overseen such functions.
28
  Plaintiffs and the United States recommend that the CPA be able to “overrule” classification
decisions under the presumption that public reporting will be insufficient to incentivize MCSO to
fairly consider CPA’s input. One effective way that we have employed to allay those concerns
in similar contexts is to provide the CPA the ability to “appeal” any classification decision it finds
unreasonable within MCSO, including up to the Sheriff himself. However, this writer does not
agree that the CPA should have the ultimate authority to dictate classification decisions.
29
  MCSO expressed a concern that for the CPA to report to CAB would be inconsistent with
CAB’s current role. To be clear, the intent here is for the CPA to simply report to CAB on what
will be progress on the timeliness issue, a key communication channel in restoring the trust of
the communities served by MCSO.
30
  In our role providing law enforcement oversight to County entities, we generally contact with
the Board of Supervisors.


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is amenable to having the County select the CPA provided it has the ability to
recommend candidate(s) for consideration. And MCSO has expressed no opposition to
a situation where the Court approves the CPA candidate selected by the County.31 This
writer believes that an independent CPA would increase trust of the parties, the Monitor,
the community, and the Court in how MCSO decides how to handle each allegation of
misconduct. That trust might allow for consideration of relaxing current investigative
requirements so that MCSO (as checked by the CPA) is afforded more discretion on
how to handle allegations that are received. With that additional discretion, MCSO
would be better positioned to utilize its investigative resources more effectively while
continuing to serve the larger goals of the process. In addition to creating a path toward
reducing and eventually eliminating the overdue case load, the presence of the CPA
could result in a functioning and robust internal investigative unit that will eventually
satisfy the applicable requirements of the Order. And if MCSO were to recognize the
inherent value of the CPA function in achieving compliance, it could retain the function
into the future as an integrated and necessary entity of the organization.32
The CPA is not intended to usurp or infringe in any way upon the responsibilities of the
Monitoring team but is intended to provide an objective independent voice on intake and
routing decisions of allegations of misconduct. The CPA’s role would not involve a
review of completed investigations since that responsibility is being performed by the
Monitoring team and, at times, the United States. And the focus of the CPA’s role is not
to review intake and classification decisions by the PSB incident commander after they
have been made (as the Monitoring team does) but to weigh in on those decisions in
real-time as they are being made. The CPA’s role in providing a real-time independent
view on how certain allegations would best be handled is a distinct role from those of
the Monitoring team and the parties.33


31
  Plaintiffs and the United States further suggest that the CPA not be terminated without the
approval of the Court. This writer agrees that this is a sound suggestion further contributing to
the CPA’s independence.
32
  MCSO maintains that through a variety of changes, including a new Sheriff and its progress
toward compliance, it has been endeavoring to regain the trust that was lost as a result of the
wrongful conduct that led to the Orders. MCSO indicates its doubt that it will ever regain the
trust of opposing parties’ counsel regardless of what is does and has concomitant concerns
about creating a CPA position based on that lack of trust. This writer understands the hesitancy
but maintains that an independent CPA would create increased trust on classification and
referral decisions made by PSB.
33
   The Second Order requires a more intense oversight role for the Monitoring team in a small
but critical class of cases involving investigations, namely all internal investigations determined
to be Class Remedial Matters (CRMs). PSB currently schedules meetings every two weeks to
discuss existing and incoming complaints to determine which, if any, could be CRMs. During
these meetings, PSB personnel discuss cases pending a CRM decision, cases determined to
be CRMs, and any cases where the decision may be made that the case would not be classified
as a CRM. The PSB Commander determines the classification of the cases. A member of the
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Formalization of Central Intake Process
This writer has learned from experience that the work that is done on the front end of an
“allegation review” is pivotal to the ultimate efficacy of the investigation and its results.
Critical decisions at the “intake” phase of the process include whether the allegations
indicate a potential violation of policy, identification of potential policy violations, and the
potential subjects (including supervisors) of the allegations. Triage efforts during the
intake process can also identify allegations which may not require an internal
investigation, either because the facts are not in dispute or an alternative intervention
(as discussed in greater detail below) may better address the relevant concerns. We
have been advised that the current leadership of PSB is devoting more consideration at
the intake phase on evaluating allegations to determine how to proceed.
This writer envisions a central intake process whereby the Captain of PSB reviews the
allegation and initial supporting information. With input from the CPA as described
above, the Captain could then determine which of the allegations will be opened and
investigated by PSB, which will be sent to the Districts for an investigation (or other
intervention), and which might be handled through other methods as detailed below.
During that intake process, an investigative or intervention plan will be devised by the
PSB Captain in conjunction with the CPA. In some cases, direction may be given to
conduct additional work (document collection, limited interviews, body camera or other
recording reviews) before determining the type of investigation or intervention best
suited to address the allegation. With such a functioning system, the finite resources
that do exist at PSB could be applied most effectively to ensure quality and timely
investigations. Moreover, the thoughtful re-routing of other allegations to other vehicles
for resolution (including other investigative entities, a more limited inquiry, or other non-
investigative interventions), will help reduce caseload and allow for both robust
investigation and an appropriate emphasis on timely resolution.
The Plaintiffs and the United States have suggested an alternative scheme whereby the
intake and classification of complaints to an internal “civilianized” classification unit with
the CPA taking a more limited role of reviewer/auditor. The rationale for this approach is
that the CPA should not be evaluating decisions in which it is participating. However,
this is the current arrangement of many such entities. For example, the Central Intake
situation at the Inspector General’s Office relating to the CDCR, the largest prison
system in the country this writer is not aware of any articulated concern about the IG
making recommendations regarding classification decisions and then reporting on them.
Most significantly, Plaintiffs and the United States’ alternative proposal would
marginalize the impact of the CPA and require identifying, developing and training a


Monitoring Team attends all of these meetings to provide the oversight required by the Order.
Because of the real-time review of pending cases by the Monitoring team and to avoid
duplication or overlap of responsibilities, it is recommended that the CPA not be involved in the
CRM matters.


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whole new team of individuals to make intake and classification decisions. To the
degree that plaintiffs are concerned about capacity, the CPA should be free to
recommend additional resources, if necessary, to fulfill his or her responsibilities.
Use of Direct Action
As noted above, some allegations can be proven or disproven without the need for a full
investigation. The prototypical incident is one in which a complainant alleges that a
deputy was rude and profane during the vehicle detention of the complainant. An initial
review of the body camera footage captures the entire encounter and either proves or
disproves the allegations of rudeness and profanity. In this case, other than a full
interview of the complainant (to ensure that all of the concerns are catalogued) there is
no need to interview other witnesses or even the deputy to determine whether a
violation of policy and Departmental expectations occurred. Such cases are better
handled as “direct actions” whereby the case directly moves to the review phase. When
the evidence establishes a violation, appropriate action is then taken; when it disproves
the allegation, no additional action is necessary.
In cases in which external evidence clearly establishes a violation of policy, some
agencies will interview the subject deputy in order to learn the degree to which the
member accepts responsibility for the transgression. In cases in which a deputy takes
responsibility, the penalty for the violation may be mitigated for that recognition of
culpability.
It is important that “direct action” be used in cases only where the external evidence is
clear that a policy violation either did or did not occur. But a modified version of “direct
action” has been used by some agencies effectively whereby a more limited
investigative plan is devised that will either establish or refute the allegations.
Use of the Non-investigative Intervention
For allegations of minor misconduct, the “coaching” intervention may provide a more
effective alternative intervention.34 Similar to the direct action process described above,
supervisory interventions are intended to promptly address the received concern without
the need for a full-blown investigation.
As noted above, such interventions have already been authorized for PSB to deploy in
some limited situations. MCSO maintains that there could and should be a wider array
of scenarios for which direct intervention could be used. Should a CPA be instilled as
part of the real-time case vetting intake process, additional categories of cases might be
considered as candidates for the non-investigative intervention option.



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  We use “coaching” as a short-hand for other interventions that are available to MCSO for
these types of allegations.


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MCSO suggests that this writer identify which types of complaints might best be
handled through non-investigative detentions. This writer believes that it is premature to
do so, considering that any increase in the types of complaints eligible for non-
investigative interventions should be reliant on the creation of a CPA. The vision here is
that the CPA would be instrumental in working with the parties and the Monitoring team
to develop protocols on which additional allegations would be appropriate for handling
through supervisory interventions.35
Reconsideration of Routing Investigations to the Districts or Division for Handling
As noted above, over the years PSB has assigned cases to the Districts or Divisions
(hereinafter “District”) for handling. However, recently MCSO has reconsidered whether
it is effective and efficient to continue to do so. The review and quality control needed
for PSB to ensure that a District investigation meets industry standards may create
inefficiencies that do not exist if an investigation stays within the Bureau. Moreover, the
District’s own internal review process slows down the completion of such investigations.
There are direct and collateral advantages to having some investigations handled by the
Districts and Divisions, beyond the mere need to bring “all hands on deck” to address
the untimely case load. With careful supervision to ensure quality control and the
appropriate approach, District and Division sergeants assigned to internal investigations
learn a valuable skill set and gain increased integration into the organization’s overall
accountability process.
The notion of the discipline process as a shared management responsibility, rather than
an unpleasant task relegated to a small group and ideally kept at a distance, is
important to creating a culture in which standards and accountability matter. These
advantages to sharing MCSO employee accountability responsibility with field
supervisors and command staff should be considered in determining the advisability of
removing the investigative responsibility from the Districts and Divisions.36
If MCSO is determined to eliminate these referrals, it will potentially put additional
burdens on PSB. At the same time, it will reduce the need for the Districts to assign


35
  Plaintiffs and the United States have suggested that MCSO identify minor policy violations that
would be appropriate for supervisory intervention. Instead of relying entirely on classes of
violations, a more effective approach is to use the “Category Classification” as only one factor in
determining whether an allegation would be appropriate for non-supervisory interventions.
Plaintiffs and the United States further suggest that this writer evaluate how MCSO supervisors
have used the discretion already received. This writer notes that the Monitor has assumed this
responsibility and regularly report on how this discretion is being used. See e.g., the Monitor’s
30th Quarterly Report (Approving of MCSO’s decision to send seven cases to non-investigative
interventions.)
36
 One way in which Districts and Divisions will continue to be necessarily involved in the
accountability process is their central role in ensuring effective non-disciplinary interventions.


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investigators to conduct such investigations. That reduction in workload should result in
MCSO being able to free up some District-assigned sergeant to PSB.37
Handling of Allegations Received over a Year After the Incident
As set out above, MCSO has suggested that the PSB should have discretion not to
open investigations into allegations received over a year after the incident complained
of. MCSO does recognize that certain allegations necessarily should be investigated no
matter when received. While older allegations do create challenges to the investigative
process (locating witnesses, memory and recall issues, physical evidence no longer
exists), there should not be a bright-line rule that would automatically reject allegations
simply because they were not timely received. For example, if the complainant has a
reasonable explanation for why she did not file a complaint sooner, the case should be
investigated. Moreover, if there are sufficiently detailed leads relating to the allegations,
an investigation designed to pursue those leads should be crafted.
This writer recommends that allegations in this “delayed submission” category be
specially handled. For those allegations involving a member of the Plaintiff class,
allegations of criminal misconduct, allegations of bias, or allegations for which a
sustained violation would result in revocation of the principal’s AZPost certification, an
investigation should be opened. For other allegations received a year or longer after
the incident complained of, the PSB Commander should consider whether to open an
investigation (in consultation with the CPA) or potentially work with the CPA to
customize the investigation considering the following factors:
     •   The age of the allegation;
     •   The nature of the complaint;
     •   The reason for the delayed filing;
     •   What physical evidence exists relating to the allegation and incident;
     •   Whether the subject is identified in the complaint or during a complainant
         interview;
     •   What additional leads may be available to investigate.38



37
  MCSO suggests that it is premature to presume that there would be a shift in burdens
between the field and PSB if investigations stop being assigned to field supervisors. MCSO
suggests that any recommendation in this area reflect this uncertainty until and if MCSO makes
this change permanent.
38
 For this type of complaints and those involving former employees, Plaintiffs and the United
States indicated they are open to modifications except for the following type of complaints:
        Allegations of excessive force with serious injury or the failure to report force;
        Dishonesty or other potential Brady violations;
        Concealing of serious misconduct;
        Allegations in which the penalty is 80 hours of discipline or dismissal;
        Allegations for which an employee could be decertified.
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Addressing Complaints about Former Employees
As noted above, MCSO has sought the discretion not to open an investigation if an
allegation is received involving a former employee, or to summarily close an
investigation if an employee leaves the organization. In its proposal, MCSO indicates
that “significant” investigations would be opened even if the named subject is no longer
employed.39
For cases in which an allegation is received that involves a named employee who is no
longer employed by the organization, it may be appropriate to afford the PSB
Commander (in consultation with the CPA) discretion not to open the investigation. For
allegations involving a member of the Plaintiff class, allegations of criminal misconduct,
allegations of bias, or allegations for which a sustained violation would result in
revocation of the principal’s AZPost certification, an investigation should be opened.
Moreover, for cases in which the allegations suggest weaknesses in systemic issues
such as training or policy, a modified inquiry should be designed (in consultation with
the CPA) so that such issues can be identified and remediated.40
Meanwhile, cases in which the focused employee leaves the agency during the
pendency of an open case should not be summarily closed. While the investigation
may be challenged by the unavailability of the former employee to sit for a subject
interview, and there may be a need to alter the investigative plan as a result of the
employee departure, the case should not be summarily aborted simply based on the
employee’s separation from service. There are benefits to completing the process that
extend beyond the employment status of an individual member of the agency.




MCSO urges immediate adoption of this proposal so that change can occur in short order.
However, the factors set out here presuppose a process where the CPA is involved in the
ultimate routing and classification decision.
39
  MCSO suggested in its filing that factors relevant to the exercise of discretion would include:
the severity of the alleged misconduct and whether the allegation involves a supervisor’s failure
to properly supervise and/or take corrective action for misconduct that the supervisor knew or
reasonably should have known about. MCSO advised that such discretion would not apply to
allegations involving a member of the Plaintiff class, allegations of criminal misconduct,
allegations of bias, allegations involving others who are current MCSO employees, or
allegations for which a sustained violation would result in revocation of the former employee’s
AZPOST certification. Under MCSO’s proposal, the Commander of the PSB would document
the reasons for not initiating an investigation.
40
  MCSO urges immediate implementation of this proposal. Again, the Recommendation
presupposes the participation of a CPA as indispensable to the process prior to implementation.


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Addressing Complaints that Are Withdrawn, or Where the Complainant is Unwilling to
Cooperate
As noted above, MCSO seeks the discretion to close investigations where the complaint
is withdrawn, or the complainant is unwilling to cooperate.41 In this writer’s view, the
mere fact that the complainant withdraws her complaint is not a sufficient basis to close
an investigation. Complainants may be motivated in a number of ways to “withdraw” a
complaint, many of them having nothing to do with the legitimacy of the complaint. Just
as a plainly frivolous complaint is not made substantively meritorious by the intensity of
a complainant’s interest in it, a withdrawn complaint does not inherently obviate the
existence of issues that warrant the agency’s attention.
When a complainant is unwilling to cooperate with an investigation, it admittedly
presents challenges to a full collection of facts for the investigator. However, the mere
lack of cooperation should not be the basis for a summary closing of the complaint. In
such cases, the PSB Commander should consult with the CPA and consider first
whether the intercession of the CPA might regain cooperation of the complainant. If
such efforts prove unsuccessful, the PSB Commander should consult with the CPA to
consider whether a modification in the investigative plan is in order but should not close
out a case simply due to the complainant’s lack of cooperation.42
Addressing Anonymous Complaints
Anonymous complaints create special challenges for investigators. First, the inability to
gain further information from the complainant often leaves investigators with non-
specific allegations and few leads. For anonymous complaints, the investigative plan
should be specially tailored. When the allegations provide detailed allegations with
discrete leads, the investigation should pursue those leads. In cases in which the




41
  MCSO suggested in its filing that factors relevant to the exercise of discretion regarding
whether to terminate an investigation under this subparagraph would include: the severity of the
alleged misconduct, whether the allegation involves criminal misconduct, whether the allegation
involves a supervisor’s failure to properly supervise and/or take corrective action for misconduct
that the supervisor knew or reasonably should have known about, and whether the allegation
involves additional principals who are current MCSO employees. MCSO’s proposed that this
discretion would not apply to complaints that involve a member of the Plaintiff class, allegations
of bias, or allegations that would result in revocation of AZPOST certification if sustained. Under
MCSO’s proposal, the Commander of the PSB would document the reasons for terminating an
administrative investigation.
42
 MCSO urges prompt adoption of this change. While, as stated above, this writer supports
additional discretion on how to handle such allegations, it again presupposes the participation of
an independent CPA in the process prior to adoption.


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allegations provide little to pursue, the PSB Commander, in consultation with the CPA,
should develop a modified plan following what leads may exist.43
Creation of Internal Mechanisms to Monitor Length of PSB Review
Last year, after a change in leadership at PSB, it was learned that completed PSB
investigations often languished for months without any meaningful activity. It was
discovered that PSB supervisors responsible for review were also delegated
responsibility for requesting the case extensions and were more than willing to grant
themselves extensions. As a result, instead of conducting timely reviews, those
supervisors continued to request extensions, resulting in an extraordinary delay of the
review process.
While the change in PSB leadership has rescinded that delegation of responsibility for
extension requests, there is no formal internal expectation for how long a reviewer has
to complete the process. With the development of such expectations, the PSB
commander could better monitor the pace of the review process and hold reviewers
accountable when such expectations are not met. In addition to the creation of such
internal timelines for review, the PSB commander should also create monthly lists of
each case under review and flag those cases that are tardy with appropriate
intervention.44
Diversion of HR Cases to HR Investigators
Currently, cases involving allegations of discrimination, harassment, creating a hostile
work environment, or retaliation are investigated by PSB. However, PSB has no
particular expertise in these types of allegations emanating from workplace
relationships. Many law enforcement agencies have recognized that this type of
investigation, while crucial in identifying and addressing serious misconduct, is best
handled by civilians with special training in workplace issues. The most effective
models include referring such matters to individuals with special training in the laws of
discrimination, harassment, and retaliation. Potential candidates for such investigations
might include Human Relations (“HR”) staff who are trained and experienced in
workplace investigations, contract HR professionals with relevant training, as well as
attorneys who have specialties and experience in the area. These third parties could
not only initiate investigations and uncover facts that either corroborate or refute the
particular allegations, but also could work with MCSO to create a workplace



43
 MCSO urges prompt adoption of this change. While, as detailed above, this writer supports
additional discretion on how to handle these types of allegations, it again presupposes the
participation of an independent CPA in the process prior to adoption.
44
 PSB uses a database called IAPRO to track its cases. However, PSB has yet to take full
advantage of those tracking capabilities that are available in the database.


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environment through training and other proactive interventions that will reduce the
likelihood that such corrosive activity will reoccur.45
Developing a Restorative Justice Alternative Dispute Resolution Program
An increasing number of jurisdictions are offering a restorative justice approach to
addressing complaints in lieu of the traditional investigative model. This approach, also
known as alternative dispute resolution or mediation, provides an opportunity for the
complainant and the law enforcement officer to meet in a neutral and confidential
setting, with the assistance of a professional facilitator. The voluntary nature of the
process allows both sides to be heard. Complainants talk about the behaviors they felt
were harmful or discourteous and help law enforcement officers see the incident from
their perspectives.
Sheriffs Office employees have the opportunity to explain what happened from their
point of view as well, and often share what kind of information they had going into the
situation as well as relevant policies and procedures that may have impacted their
decisions. The mediator facilitates the conversation in a safe space, allowing both
parties the ability to bring closure to the encounter. Jurisdictions who have
implemented a restorative justice program have spoken approvingly of the effectiveness
of the process. According to their reports, most complainants who participate in the
process do feel that they were heard and that their participation impacted deputy future
behavior.
In addition to the innate value of having an alternative system for resolving complaints,
the creation of a restorative justice system would alleviate the need to investigate some
complaints of minor misconduct, such as rudeness, discourtesy, and profanity.46
Restorative justice could provide a way to resolve disputes more meaningfully and
promptly and simultaneously relieve PSB of the need to investigate such allegations.47


45
  We noted above the exploration already done by MCSO to see whether its Human Resources
Bureau might provide an effective off ramp to investigate and address these types of
allegations. Plaintiffs and the United States have indicated that they are open to this
modification and agree that attorneys with special training in discrimination, harassment, and
retaliation may be better situated than PSB to investigate allegations emanating from workplace
relationships.
46
  MCSO recommends that minor misconduct that do not involve the plaintiff class or allegations
of bias be eligible for this program and requests additional specificity regarding which
complaints would be eligible. While this report provides a broad description on which types of
allegations typically are eligible for this type of interventions, it is premature to provide more
specificity without discussions among the Monitor, the parties, and the CPA.
47
  While stating that there has not been a demonstrated need for such a program to reduce the
backlog, Plaintiffs and the United States indicated openness to a restorative justice proposal
that would be administered by a neutral third party.


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Delegation of Jail In-Custody Death Investigations to Different Entities
In this writer’s experience, for deaths in the jail due to natural causes, the preliminary
information in the majority of cases indicates that there are no apparent misconduct or
performance issues relating to custody staff. PSB is not necessarily the best equipped
investigative body to investigate such matters. Some jails with comparable
responsibilities have turned over the initial review to the medical leadership in their
facilities since the majority of such deaths have an overriding medical component. If
that initial or subsequent review identifies potential misconduct, the matter could always
be referred to PSB for an investigation. However, short of such indicia, such incidents
would not require a formal PSB investigation.48
Handling Shooting of Animals Differently
Currently, when deputies shoot an animal, it is investigated similarly to a shooting at a
person. MCSO reports that it is currently revising its policies to streamline such
investigations. Assuming that there are sufficient investigative efforts to ensure that
deputies have met the Sheriff’s Office and Court’s expectations, such modifications
could reduce the investigative resources needed for these incidents.49
Changing the Time-Line for Determining Timeliness of Investigations
MCSO has requested a modification of the Order so that the measure of timeliness
uses the State law metrics of 180 days rather than the shorter periods of 85 days for
PSB cases and 60 days for District assigned cases. Considering the degree of untimely
MCSO investigations as set out above, changing the timeliness metric would do nothing
to address the fact that cases are concerningly or even egregiously late, even if the
180- day deadline was substituted. The current time limits were derived from MCSO’s
own internal guidelines and expectations for completion of investigations. Moving the
goalposts for timeliness would do nothing to address the realities that MCSO is
consistently late under either metric, and is not recommended by this writer.



48
  MCSO has advised this writer that there has been work started internally to revise policies for
investigating in-custody deaths. Plaintiffs and the United States have indicated agreement that
entities other than PSB may be better situated to investigate jail in-custody deaths that were due
to natural causes. They indicate openness to reviewing a proposal for how County medical staff
would investigate in-custody deaths with considerations to include ensuring that where potential
misconduct is present, the investigation is not delayed, and that deaths found to be due to
natural causes are still subject to a review to identify all contributing factors.
49
  Plaintiffs and the United States indicate opposition to changing the manner in which MCSO
investigates animal shootings and asserts that the proposed changes would not significantly
impact the backlog since there are few such shootings. Those observations notwithstanding,
industry standards show the vast majority of law enforcement organizations have different
investigative protocols for deadly force incidents when the intended target is an animal as
opposed to a person.
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Implementation Costs and Plan: Next Steps
The Court’s Order indicates that the Management Expert will be expected to make
reasonable efforts to approximate implementation costs. Costs to implement the above-
noted recommendations are not anticipated to be extensive. Because the County has
already budgeted for the vacant positions at PSB, filling those vacancies should not
result in a need for increased funding. Accordingly, the significant outlays to implement
the recommendations would be:
    •    Funding for the Constitutional Policing Advisor position
    •    The additional 2-3 contract investigators
    •    Staffing for the Restorative Justice program
    •    Staffing for Human Resources
    •    Staffing for Medical Review of natural in-custody deaths
Moreover, the recommendations, if effectively implemented, would result in complaint
handling efficiencies that do not currently exist, eventually reducing the resources
MCSO would need to satisfactorily ensure that complaints are appropriately handled
consistent with the Court’s Orders and state law.
With regard to developing an implementation plan, ideally, the parties and the Monitor
team would work together to develop the specifics on how to best implement the
Recommendations set out above. Plaintiffs and the United States suggest that the
Recommendations be more specific but this writer believes that there is sufficient
specificity identified above to develop protocols to implement the Recommendations.
And it is expected that the CPA would play a key role in developing the protocols and
policies that would effectuate the Recommendations.
That being said, this writer has been informed by the largely failed results of the inter-
party discussions on these issues. Accordingly, this writer further recommends that if
the discussions between the parties does not result in any consensus, the CPA develop
specific protocols for implementation of the Recommendation and submit to the Court
for consideration.
Plaintiffs and the United States suggest that any modifications be subject to a six-month
pilot with detailed reporting requirements for the CPA and MCSO. Plaintiffs and the
United States further suggest that MCSO should collect and report data related to the
efficacy of its efforts to clear the backlog. This writer disagrees for the need to label any
implementation of these Recommendations as subject to a pilot program. Should the
Recommendations fail to deliver the anticipated results, the parties, the Monitor, and the
Court can always move to fashion additional modifications to the investigative
requirements. However, this writer does agree that the suggestion by Plaintiffs and the
United States for public reporting by both the CPA and MCSO on its efforts to address
the backlog would be helpful to ensure ownership of the issue and provide MCSO’s



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public important information on what it is doing to reduce the timeline for completed
cases.50

Projections for “Curing” the Backlog: An Unnecessary Exercise in
Speculation
Plaintiffs and the United States maintain that it is essential that there be a projection for
when the backlog will be eliminated if the recommendations are adopted. Moreover,
they aver that there should be an estimated projection for the impact each
recommended change might have on the backlog. However, this writer believes that
because of the many variables that exist as to which Recommendations will be
implemented and when, as well as yet undefined contours of which allegations would be
eligible for a non-standard investigative or other response, the request would be an
exercise in speculation resulting in non-reliable projections. As detailed above, the
addition of a CPA is crucial to the recommended path forward advanced by this writer,
and even if accepted, it is also unclear how long it would take to identify, select, and
engage a CPA. The Central Intake process is also an important aspect of the
recommendations, yet it cannot begin as envisioned here until a CPA is on board.
Finally, to the degree that the Recommendations call for an increase in PSB resources,
even if accepted immediately, it is unclear when additional investigators could be
identified, selected, trained, and assigned cases.
In its papers seeking relief from the Second Order, MCSO endeavored to provide
projections but has advised this writer that there is little data support for those numbers.
Moreover, the projection of percentage reductions provided to the Monitoring team and
set out above were not supported by detailed data analysis. Nor have plaintiffs or the
United States advanced any projections on how many additional investigators they
believe are necessary to eliminate the backlog or how any of the suggestions by either
MCSO or this writer would “bend the curve” of the backlog.
Instead of further delaying progress on addressing the backlog by engaging in this
“projection” exercise, this writer opts for moving the process forward. As detailed
above, each Recommendation is sound and consistent with best industry practices
regarding how best to address allegations of misconduct and create an internal
investigative unit that is sufficiently nimble yet responsible to ensure that each complaint
is fairly addressed. The fact that some reforms may have a greater impact on the
backlog than others is an academic exercise and does not mean that less impactful
reforms should be ignored or discarded. And certainly, once the reforms are
implemented, those responsible for addressing the matter, particularly the CPA, would



50 This writer does not agree with the onerous requirements suggested by Plaintiffs and the
United States with regard to MCSO’s and the CPA’s public reporting, leaving those details to be
initially developed by MCSO and the CPA (with input from the parties and the Monitoring team).
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be responsible for providing progress reports on how any adopted reforms are
impacting the backlog.

Increasing the Role of the Monitoring Team: An Alternative
Remedy
As detailed above, most of the Recommendations advanced by this writer depend on
the involvement of an independent Constitutional Policing Advisor to provide a level of
trust in affording the PSB Incident Commander more discretion in determining how
allegations received are best handled. While the parties have expressed general
support for the concept (albeit with the expressed reservations set out herein), an
alternative remedy would be to increase the responsibility of the Monitoring Team to
assume the duties of a CPA, as set out in this Report. Should the CPA
Recommendation prove unfeasible, the writer suggests this path as an alternative
remedy.

Conclusion
As discussed above, the existing situation is the product of dynamics that are both
complicated and years in the making. It will not be resolved overnight.
The legacy of past issues also merits continued attention, as does the prevailing
national trend toward new paradigms of law enforcement transparency and outside
oversight. While the troubled aspects of MCSO’s recent history give added weight to
arguments that robust monitoring continues to be necessary, progressive police
agencies around the country have come to see it as a potential advantage: a boon to
public confidence and a source of input that might genuinely make their organizations
better.
In MCSO’s case, the addition of a new Constitutional Policing Advisor could shift the
landscape to something constructive and collaborative, even as it enhances external
perceptions – and facilitates other needed adjustments to a critical but underperforming
process. We hope this Report will move the parties closer to initiating that step, as well
as others that will gain viability in its wake.

                           Recommendations
Recommendation One: MCSO should increase the size of its PSB investigators
by immediately moving to fill all current investigator vacancies.
Recommendation Two: MCSO should increase the size of its contract
investigators by at least 2-3 additional personnel.
Recommendation Three: MCSO should commission an independent Office-wide
staffing study to determine whether the current deployment of line employees



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and first level supervisors is “right sized” considering the requirements and
expectations of its served communities.
Recommendation Four: The County should retain a Constitutional Policing
Advisor to provide internal oversight to its case intake process.
Recommendation Five: MCSO should work with the Monitor, the parties, and the
CPA to formalize a central intake process for evaluation and assignment of all
allegations of misconduct.
Recommendation Six: MCSO should work with the Monitor, the parties, and the
CPA to formalize a process for direct action.
Recommendation Seven: MCSO should work with the Monitor, the parties, and
the CPA to determine how greater use might be made of the non-investigative
intervention.
Recommendation Eight: If MCSO is intent on permanently ending investigation
referrals to the District or Division, it should transfer District resources no longer
needed to do field investigations to PSB.
Recommendation Nine: MCSO should work with the Monitor, the parties, and the
CPA to create a new protocol for handling of allegations received over a year
after the incident.
Recommendation Ten: MCSO should work with the Monitor, the parties, and the
CPA to create a new protocol for handling allegations relating to former
employees.
Recommendation Eleven: MCSO should work with the Monitor, the parties, and
the CPA to develop a new protocol for the handling of investigations where the
initial complainant is unwilling or unable to cooperate.
Recommendation Twelve: MCSO should work with the Monitor, the parties, and
the CPA to develop a new protocol for the handling of anonymous complaints.
Recommendation Thirteen: MCSO should work with the CPA to create internal
mechanisms to further streamline the length of PSB review.
Recommendation Fourteen: MCSO should work with the Monitor, the parties, and
the CPA to develop a protocol for diverting allegations of work-place violations
(i.e., discrimination, harassment, hostile work environment, retaliation) to more
skilled entities for investigation.
Recommendation Fifteen: MCSO should work with the Monitor, the parties, and
the CPA to develop a Restorative Justice program for alternative dispute
resolutions of certain complaints.



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Recommendation Sixteen: MCSO should work with the Monitor, the parties, and
the CPA to have health-related in-custody jail deaths investigated by County
medical staff.
Recommendation Seventeen: MCSO should work with the Monitor, the parties,
and the CPA to create a different investigative protocol for the shooting of
animals.
Recommendation Eighteen: If the parties cannot achieve a consensus on
implementation of these recommendations, the CPA should submit a specific
plan for implementation to the Court for consideration.
Recommendation Nineteen: Should the CPA concept prove unfeasible,
alternatively the Monitoring Team should assume the duties of the CPA as set out
in this Report.
Recommendation Twenty: MCSO should commit to meeting the deadlines for
completion of internal investigations set out in the Second Order.




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